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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                     Richmond Division

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )              Case No.      3:23-CR-092
                                    )
HARMANPREET SINGH, et al.           )
                                    )
      Defendant                     )
____________________________________)


                               NOTICE OF APPEARANCE

       WILL THE CLERK please note the appearance of Atchuthan Sriskandarajah, Esquire as

lead attorney on behalf of Defendant Harmanpreet Singh in the above referenced matter.

                                                   Respectfully submitted,
                                                   HARMANPREET SINGH
                                                   By Counsel


                                               By: /s/ Atchuthan Sriskandarajah
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